“Case 5:18-fj-00003-HE Document 72 Filed 05/13/19 Page 1 of 4

IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF OKLAHOMA

MARVIN KENT POWELL and )
SHAWNA POWELL, )
)
Plaintiffs, )
Vv. ) Case No. 5:18-FJ-00003-HE
)
WILBANKS SECURITIES, INC., an )
Oklahoma Corporation, and AARON ) = iLED
BRONELLE WILBANKS, individually, )
) 2019
Defendants, ) MAY 13
) CARMEL Lia REEL. iN 5,08
and ) us. DIST. ene WESTERND pe
) us ST el
First Fidelity Bank, )
)
Garnishee. )

Non—Continuing and General Garnishee’s Answer/Affidavit

State of OL ahma )
County of / dk & hare ) SS

\, f
L Ranall / Bice r » (Gamighee or individual answering on behalf of garnishee), in
answer to a garnishment’ summons served on the day of PQS , 20/7 _, and having
knowledge of the facts and being sworn, state:

 

e If Garnishee is an Individual:
That garnishee is an individual, whose full legal name is
and that garnishee does business under the name of

 

 

e If Garnishee is a Partnership:
That garnishee is , a partnership composed of the
following persons:

 

 

 

 

 

e If Garnishee is a Corporation:
That garnishee is Hi vxt_ Evalel pf Park , a corporation, organized under the laws
of the state of C JKahorwa . ___, and the official ‘title of the person answering on behalf of
garnishee is

 

1. At the time of the service of the garnishment summons, or upon the date it became effective, the garnishee
was not indebted to the judgment debtor for any amount of money nor did the garnishee have possession or
control of any property, money, goods, chattels, credits, negotiable instruments or effects belonging to the
judgment debtor or in which the judgment debtor had an interest because the employee/individual/judgment
debtor was: (Please check appropriate response)

Not employed
- " Case’5:18-fj-00003-HE Document 72 Filed 05/13/19 Page 2 of 4

 

Employed but no amounts due; specify reason:

 

Other; specify:

 

 

At the time of service of the garnishment summons or upon the date it became effective, the garnishee was
indebted to the judgment debtor or had possession or control of the following property, money, goods,
chattels, credits, negotiable instruments or effects belonging to the judgment debtor as follows: (Please check
appropriate response)

Earnings as shown on the attached Calculation for Garnishment of Earnings form which is
incorporated by reference into this answer;

Upon conducting the review of the debtor’s account(s) mandated by 31 CFR § 212.1 et. seq,
garnishee has determined the account(s) contains $" } S unprotected funds, and
$ ( ) protected funds. Specify type(s) of protected funds, and if more than one type,

specify amount of each:

 

 

Other; specify:

 

 

Check here [___] if additional pages are necessary.

Nothing has been withheld due to a prior garnishment or continuing garnishment which will expire on
and is in Case Number in the District Court of
County, Oklahoma.

 

On Med 5 , 20 IG , the garnishee mailed a copy of the Notice of Garnishment &
Exemptions and Application for Hearing by first-class mail to the judgment debtor at:

Address 44334 ALU Ex PresSlarca/ Se R LZ
City OMeahocs. Cit/

State ’ Tip 73 jllo- Sle

Date Mailed 5/9/79

 

 

Or, hand delivered the same to judgment debtor at:

Judgment Debtor
Place

 

 

The garnishee makes the following claim of exemption on the part of the judgment debtor, or has the
following objections, defenses, or setoffs to judgment creditor’s right to apply garnishee’s indebtedness to
judgment debtor upon judgment creditor’s claim:

 

Check here [___] if additional pages are necessary.
S Case 5:18-fj-00003-HE Document 72 Filed 05/13/19 Page 3 of 4

By: > QO
Title: Ze, Lhoochea-

Subscribed and sworn to before me on this q day of Man , 20 | q .

Pmt om en ee ee ene
ASHLEY CONWAY |
Notary Public in and for | | Notary Public

State of Oklahoma |
13005893

Date. SA/G

 

   

My commission expir

 

When completed, mail original answer to: the Court Clerk of the United States District Court for the Western
District of Oklahoma at the following address:

200 NW 4" Street

Oklahoma City, OK 73102

Please Note: You must send your check for the amount garnished with a copy of your answer to the
attorneys named below. The check shall be made to the attorneys’ trust account, “RG Busch
PLLC COLTAF Account”

Attorneys for Judgment Creditor:
Nicholas M. Tait and Rob G. Busch

RG Busch PLLC
P.O. Box 3931
Greenwood Village, CO 80155

AOC Form
Revised 5/2011
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Case 5:18-f/-O0003-HE Document 72 Filed 05/13/19 Page 4 of 4

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P.O. BOX 32282

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MAY 1 3 2019
CARMELITA REEDER SHINN
CLERK, U.S. DISTRICT COURT
i DEPUTY District of Cklahoma
200 NW 4th St
Oklahoma City, OK 73102

ZIP 73101
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